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                [ORAL ARGUMENT NOT YET SCHEDULED]
                            No. 25-5016

                  United States Court of Appeals
                for the District of Columbia Circuit
                     UNITED STATES OF AMERICA; ET AL.,
                                           Plaintiffs-Appellees,
                                      v.
                                GOOGLE LLC,
                                           Defendant-Appellee,
                                 APPLE INC.,
                                           Movant-Appellant.


  On Appeal from the United States District Court for the District of Columbia
 Nos. 1:20-cv-03010-APM; 1:20-cv-03715-APM (Hon. Amit Priyavadan Mehta)

                  APPELLANT APPLE INC.’S MOTION
                   TO SCHEDULE ORAL ARGUMENT


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      1. Pursuant to D.C. Circuit Rules 27 and 34, Appellant Apple Inc. (“Apple”)

respectfully moves for this Court to schedule oral argument at the earliest practicable

date so this appeal may be resolved as expeditiously as possible. Apple conferred

with Plaintiffs-Appellees regarding this request. Counsel for Plaintiffs-Appellees

states: “Plaintiffs continue to believe that oral argument is unnecessary but do not

oppose expediting oral argument if argument would be helpful to the Court.”

      2. On February 3, 2025, Apple moved to stay proceedings in the district court

and expedite consideration of this appeal. ECF Doc. 2098492. Plaintiffs did not

oppose Apple’s request to expedite briefing. The Court denied the motion for a stay

and granted the motion to expedite on February 10, 2025. ECF Doc. 2099916. The

February 10 order also stated that “[t]he parties will be informed later of the date of

any oral argument.” Id.

      3. Now that this appeal is fully briefed, Apple respectfully requests that the

Court schedule oral argument as soon as practicable for the reasons explained in its

motion for stay and expedited appeal.1         The district court’s remedies trial is

scheduled to begin next month on April 21, JA1004, and it is imperative that this

appeal be resolved prior to the start of that trial. Indeed, if the appeal is not argued




1
 Subject to this Court’s availability, Apple’s counsel of record is available to present
oral argument on March 13, 14, 17, 18, 26, 27, 28 and March 31 to April 4.

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and decided before the remedies trial, then the expedited briefing ordered by this

Court will have been for naught.

      4. Moreover, if the Court does not resolve this appeal prior to the remedies

trial and then later rules in Apple’s favor, the only way to preserve Apple’s right to

intervene to protect its users and property interests would be to restart the remedies

trial or reverse any remedy issued by the district court. Cf. Cascade Nat. Gas Corp.

v. El Paso Nat. Gas Co., 386 U.S. 129, 136 (1967) (ordering that “merits of

[antitrust] case must be reopened” due to erroneous denial of intervention in order

to afford applicant “an opportunity to be heard as of right as [an] intervenor[]” in

remedies phase); see also In re PaineWebber Inc. Ltd. P’ships Litig., 94 F.3d 49, 52

(2d Cir. 1996) (“If the intervenor prevailed on appeal, the entire matter might have

to be relitigated.”). Resolving this appeal before the remedies trial would help to

avoid those possibilities.

      5. This Court has granted (or substantially granted) similar motions to set oral

argument in expedited appeals.       Mot. to Schedule Oral Argument, ECF Doc.

2009722, Med. Imaging & Tech. All. v. Libr. of Cong., 103 F.4th 830 (D.C. Cir.

2024) (No. 23-5067); Mot. to Schedule Oral Argument, ECF Doc. 1848522,

Bethesda Health, Inc. v. Azar, 980 F.3d 121 (D.C. Cir. 2020) (No. 19-5260); Mot.

to Schedule Oral Argument, ECF Doc. 1778903, SEC v. Waymack, 2019 WL

4410515 (D.C. Cir. 2019) (No. 19-5061).



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      6. The case for expedited treatment here is especially strong. The district

court acknowledged “the public’s keen interest” in this case, JA988, and media

attention has been ceaseless, JA977. This Court’s procedures allow the Court to

“expedite cases in which the public generally, or in which persons not before the

Court, have an unusual interest in prompt disposition.” D.C. Circuit, Handbook of

Practice and Internal Procedures § VIII.B at 34 (2024). That standard is clearly

met here given the widely recognized stakes of this significant case.

      7. For the foregoing reasons, and those in Apple’s initial motion for stay and

expedition, the Court should set oral argument as soon as practicable.


Dated: March 6, 2025                         Respectfully submitted,

                                             /s/ Gregory G. Garre
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                       CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limitations of Federal Rule of

Appellate Procedure 27(d)(2)(A) because it contains 576 words, excluding the parts

exempted by Federal Rule of Appellate Procedure 32(f).

      This motion complies with the typeface requirements and type-style

requirements of Federal Rule of Appellate Procedure 32(a) because it has been

prepared in a proportionally spaced typeface using Microsoft Word in 14-point

Times New Roman font.




Dated: March 6, 2025                              /s/ Gregory G. Garre
                                                  Gregory G. Garre
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                        CERTIFICATE OF SERVICE

      I hereby certify that on March 6, 2025, I electronically filed the foregoing

brief with the United States Court of Appeals for the District of Columbia Circuit

through the Court’s CM/ECF system. All parties are represented by registered

CM/ECF users and will be served by the CM/ECF system.

                                            /s/ Gregory G. Garre
                                            Gregory G. Garre
